         Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 1 of 31




1                                                    The Honorable Robert J. Bryan

2

3

4

5

6

7

8
                       UNITED STATES DISTRICT COURT
9                     WESTERN DISTRICT OF WASHINGTON

10    STATE OF WASHINGTON,                   CIVIL ACTION NO. 3:17-cv-05806-RJB
11                      Plaintiff,
                                             STATE OF WASHINGTON’S
12             v.                            RESPONSE TO GEO’S MOTION
                                             FOR RECONSIDERATION AND
13    THE GEO GROUP, INC.,                   UNITED STATES’ STATEMENT
                                             OF INTEREST
14                      Defendant.
                                             HEARING DATE:
15                                           September 12, 2019, at 9:30 a.m.
16                                           ORAL ARGUMENT REQUESTED
17

18

19

20

21

22

23

24

25

26


     STATE OF WASHINGTON’S RESPONSE TO                    ATTORNEY GENERAL OF WASHINGTON
                                                                   Civil Rights Division
     GEO’S MOTION FOR RECONSIDERATION                          800 Fifth Avenue, Suite 2000
     AND UNITED STATES’ STATEMENT OF                             Seattle, WA 98104-3188
     INTEREST                                                         (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 2 of 31




 1                                                  TABLE OF CONTENTS
 2   I.     INTRODUCTION............................................................................................................. 1
 3   II.    ARGUMENT .................................................................................................................... 1
 4          A. GEO’s Motion for Reconsideration Should Be Denied Because Derivative
               Sovereign Immunity Does Not Apply and GEO Concedes That It May Pay
 5             More Than $1 Per Day............................................................................................... 2
 6                1.     Derivative sovereign immunity does not apply because GEO’s
                         discretionary decision to pay detainees $1 per day was not directed by the
 7                       federal government, exceeded its authority, and violated ICE’s explicit
                         instructions ......................................................................................................... 2
 8
                  2.     Preemption does not bar the State’s claims because there is no actual
 9                       conflict between Washington’s MWA and IRCA.............................................. 7
10                3.     Analysis under Washington’s MWA is not altered just because GEO’s
                         employees work in a detention setting ............................................................. 10
11
            B. Intergovernmental Immunity Does Not Preclude Enforcement of
12             Washington’s Longstanding and Generally Applicable MWA ............................... 11
13                1.     The United States’ belated “Statement of Interest” should not be
                         considered because it is untimely and a procedurally improper request for
14                       reconsideration ................................................................................................. 11
15                2.     The federal government exaggerates and ignores the record when it
                         claims that GEO’s paying more than $1 per day will “interfere with
16                       federal immigration enforcement” ................................................................... 13
17                3.     Washington law does not discriminate against the federal government or
                         its contractors ................................................................................................... 15
18
                         a.     The nondiscrimination rule does not bar enforcement of neutral laws
19                              imposed on a basis unrelated to one’s status as a federal contractor ........ 15
20                       b.     The United States invites a false comparison in order to argue an
                                overly broad view of intergovernmental immunity .................................. 18
21
                         c.     The government institution exemption does not extend to private,
22                              corporate operators and does not discriminate against GEO or other
                                private federal contractors ........................................................................ 19
23
                         d.     The United States’ remaining arguments do not support
24                              intergovernmental immunity..................................................................... 23
25   III.   CONCLUSION ............................................................................................................... 24
26


      STATE OF WASHINGTON’S RESPONSE TO                                         i                    ATTORNEY GENERAL OF WASHINGTON
                                                                                                              Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                                    800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                                       Seattle, WA 98104-3188
      INTEREST                                                                                                   (206) 464-7744
              Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 3 of 31




 1                                                  TABLE OF AUTHORITIES
 2                                                                    Cases

 3   Ackerson v. Bean Dredging LLC, 589 F.3d 196 (5th Cir. 2009) ................................................. 5

 4   Agredano v. U.S. Customs Service, 223 F. App’x 558 (9th Cir. 2007) ....................................... 6

 5   Alvarado Guevara v. INS, 902 F.2d 394 (5th Cir. 1990)........................................................... 10

 6   Boeing Co. v. Movassaghi, 768 F.3d 832 (9th Cir. 2014) ......................................................... 17

 7   Boyle v. United Techs. Corp., 487 U.S. at 524 ............................................................................ 4

 8   Butters v. Vance Int'l Inc., 225 F.3d 462 (4th Cir. 2000) ............................................................ 5

 9   Cabalce v. Thomas E. Blanchard & Assocs., Inc., 797 F.3d 720 (9th Cir. 2015) ....................... 4

10   Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663 (2016) ....................................................... 3, 4, 6

11   Casteel v. Charter Commc’ns, Inc., No. C13-5520 RJB, 2014 WL 6751219 (W.D.
       Wash. Dec. 1, 2014) ...................................................................................................... 1, 2, 12
12
     Columbia Cmty. Bank v. Newman Park, LLC, 304 P.3d 472 (Wash. 2013) ............................... 8
13
     David v. Signal Int’l, LLC, 257 F.R.D. 114 (E.D. La. 2009)....................................................... 9
14
     Davis v. Mich. Dep’t of Treasury, 489 U.S. 803 (1989)...................................................... 17, 22
15
     Drinkwitz v. Alliant Techsystems, Inc., 996 P.2d 582 (Wash. 2000) ......................................... 20
16
     Gomez v. Campbell-Ewald, 768 F.3d 871 (9th Cir. 2014) .......................................................... 6
17
     Hilbert v. McDonnell Douglas Corp., 529 F. Supp. 2d 187 (D. Mass. 2008) ............................. 4
18
     Hoffman Plastic Compounds, Inc. v. NLRB, 535 U.S. 137 (2002) .............................................. 9
19
     In re Hanford Nuclear Reservation Litig., 534 F.3d 986 (9th Cir. 2008).................................... 5
20
     In re KBR, Inc., Burn Pit Litig., 744 F.3d 326 (4th Cir. 2014) ................................................ 3, 4
21
     In re Nat’l Sec. Agency Telecomms. Records Litig., 633 F. Supp. 2d 892 (N.D. Cal.
22      2007) .................................................................................................................... 16, 17, 19, 23

23   In re U.S. Office of Pers. Mgmt. Data Sec. Breach Litig., 928 F.3d 42 (D.C. Cir. 2019) ....... 5, 6

24   Incalza v. Fendi N. Am., Inc., 479 F.3d 1005 (9th Cir. 2007) ..................................................... 7

25   Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d 1299 (11th Cir. 2013) .............................. 9

26   LSP Transmission Holdings, LLC v. Lange, 329 F. Supp. 3d 695 (D. Minn. 2018) ................. 12


      STATE OF WASHINGTON’S RESPONSE TO                                          ii                   ATTORNEY GENERAL OF WASHINGTON
                                                                                                               Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                                     800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                                        Seattle, WA 98104-3188
      INTEREST                                                                                                    (206) 464-7744
              Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 4 of 31




 1   Lucas v. Jerusalem Café, LLC, 721 F.3d 927 (8th Cir. 2013) ..................................................... 9
 2   M’Culloch v. Maryland, 17 U.S. 316 (1819) ....................................................................... 17, 22
 3   Marlyn Natraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873 (9th Cir.
      2009) ........................................................................................................................................ 1
 4
     Menocal v. GEO Grp., Inc., 882 F.3d 905 (10th Cir. 2018) ........................................................ 9
 5
     Myers v. United States, 323 F.2d 580 (9th Cir. 1963) ................................................................. 6
 6
     North Dakota v. United States, 495 U.S. 423 (1990) ......................................................... passim
 7
     Pac. Merch. Shipping Assoc. v. Aubry, 918 F.2d 1409 (9th Cir. 1990)..................................... 10
 8
     United States ex rel. Gudur v. Deloitte Consulting, LLP, 512 F. Supp. 2d 920 (S.D. Tex.
 9     2007) ...................................................................................................................................... 12
10   United States v. California, 921 F.3d 865 (9th Cir. 2019) ............................................ 16, 17, 22
11   United States v. City of Arcata, 629 F.3d 986 (9th Cir. 2010) ............................................ 15, 16
12   United States v. County of Fresno, 429 U.S. 452 (1977) .......................................................... 16
13   Wash. Dep’t of Revenue v. Puget Sound Power & Light Co., 694 P.2d 7 (Wash. 1985) ............ 8
14   Washington v. United States, 460 U.S. 536 (1983) ................................................................... 16
15   Yearsley v. W.A. Constr. Co., 309 U.S. 18 (1940) ....................................................................... 2
16   Young v. Young, 191 P.3d 1258 (Wash. 2008) ............................................................................ 8
17                                                                     Statutes
18   28 U.S.C. § 517.......................................................................................................................... 11
19   29 U.S.C. § 218(a) ..................................................................................................................... 10
20   Wash. Rev. Code § 49.46.005(1) ............................................................................................... 10
21   Wash. Rev. Code § 49.46.010(3)(k) ........................................................................ 18, 19, 20, 24
22   Wash. Rev. Code § 70.48.210(4) ............................................................................................... 20
23   Wash. Rev. Code § 71.05.020(21) ............................................................................................. 21
24   Wash. Rev. Code § 71.05.320(1)(a) .......................................................................................... 21
25   Wash. Rev. Code § 72.09.015(6) ......................................................................................... 20, 21
26   Wash. Rev. Code § 72.65.020(1)(c) .......................................................................................... 21


      STATE OF WASHINGTON’S RESPONSE TO                                             iii                   ATTORNEY GENERAL OF WASHINGTON
                                                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                                            Seattle, WA 98104-3188
      INTEREST                                                                                                        (206) 464-7744
              Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 5 of 31




 1   Wash. Rev. Code § 72.68.012 ................................................................................................... 20
 2   Wash. Rev. Code § 72.68.040 ............................................................................................. 20, 21
 3                                                                   Rules
 4   Local Rules W.D. Wash. LCR 7(h) ........................................................................................... 11
 5   Local Rules W.D. Wash. LCR 7(h)(1) ...................................................................... 1, 12, 13, 15
 6                                                              Regulations
 7   8 C.F.R. § 274a.12(c)(8) .............................................................................................................. 8
 8   8 C.F.R. § 274a.12(c)(9) .............................................................................................................. 8
 9   8 C.F.R. § 274a.12(c)(10) ............................................................................................................ 8
10   8 C.F.R. § 274a.12(c)(19) ............................................................................................................ 8
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


      STATE OF WASHINGTON’S RESPONSE TO                                        iv                   ATTORNEY GENERAL OF WASHINGTON
                                                                                                             Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                                   800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                                      Seattle, WA 98104-3188
      INTEREST                                                                                                  (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 6 of 31




1                                      I.         INTRODUCTION

2           Washington respectfully urges the Court to decline invitations by GEO and the United

3    States to reconsider its rulings. In GEO’s case, its motion for reconsideration nowhere

4    demonstrates “manifest error” in the Court’s recent summary judgment order on derivative

5    sovereign immunity, preemption, and Washington’s Minimum Wage Act (MWA) claim. GEO

6    merely disagrees with the Court’s conclusions, the binding Ninth Circuit and Supreme Court

7    precedent the Court correctly applied to GEO’s immunity and preemption defenses, and the

8    economic dependence test GEO itself argued applies to the MWA claim. The United States, in

9    a separate “Statement of Interest,” asks the Court to reconsider and reverse its December 2018

10   ruling rejecting GEO’s attempt to invoke intergovernmental immunity—based on the same

11   arguments GEO presented more than eight months ago. Even if the United States had submitted

12   a timely brief, which it did not, its arguments nowhere demonstrate manifest error in the Court’s

13   prior decisions sufficient to warrant reconsideration. The Court should deny GEO’s motion for

14   reconsideration and reject again the arguments in the United States’ Statement of Interest.

15                                          II.    ARGUMENT

16          Motions for reconsideration are “disfavored” and will ordinarily be denied absent a

17   showing of “manifest error in the prior ruling or a showing of new facts or legal authority which

18   could not have been brought to its attention earlier with reasonable diligence.” Local Rules W.D.

19   Wash. LCR 7(h)(1); see also Marlyn Natraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571

20   F.3d 873, 880 (9th Cir. 2009) (“[A] motion for reconsideration should not be granted, absent

21   highly unusual circumstances, unless the district court is presented with newly discovered

22   evidence, committed clear error, or if there is an intervening change in controlling law.”).

23   Manifest error is a “plain and indisputable” error that amounts to a “complete disregard of the

24   controlling law or the credible evidence in the record.” Casteel v. Charter Commc’ns, Inc.,

25   No. C13-5520 RJB, 2014 WL 6751219, at *1 (W.D. Wash. Dec. 1, 2014). As the Court has

26   recognized, “[r]econsideration is an extraordinary remedy, to be used sparingly in the interests


      STATE OF WASHINGTON’S RESPONSE TO                   1             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                       800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                          Seattle, WA 98104-3188
      INTEREST                                                                      (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 7 of 31




1    of finality and conservation of judicial resources.” Id. (citing Kona Enters., Inc. v. Estate of

2    Bishop, 229 F.3d 877, 890 (9th Cir. 2000)). A request for reconsideration is not a proper method

3    to seek a “second bite at the apple”—particularly when the request is based on “evidence and

4    legal arguments that could have been presented at the time of the challenged decision.” Id.

5           Neither GEO nor the United States have identified any error, much less manifest error,

6    in the Court’s prior summary judgment rulings. Each request for reconsideration should be

7    rejected.

8
     A.     GEO’s Motion for Reconsideration Should Be Denied Because Derivative Sovereign
9           Immunity Does Not Apply and GEO Concedes That It May Pay More Than $1 Per
            Day
10
            1.      Derivative sovereign immunity does not apply because GEO’s discretionary
11                  decision to pay detainees $1 per day was not directed by the federal
                    government, exceeded its authority, and violated ICE’s explicit instructions
12
            GEO’s motion for reconsideration does not argue that this Court actually erred, but that
13
     the Ninth Circuit manifestly erred in articulating the derivative sovereign immunity standard in
14
     Cabalce v. Thomas E. Blanchard & Associates, Inc., 797 F.3d 720, 732 (9th Cir. 2015). See ECF
15
     No. 289 at 2. Even under the pre-Cabalce cases, however, GEO is not entitled to derivative
16
     sovereign immunity because it exceeded its authority under the plain terms of its federal contract.
17
     Moreover, the Court should decline GEO’s invitation to overturn binding Ninth Circuit
18
     precedent in Cabalce, which is in fact consistent with the Supreme Court’s prior precedent on
19
     derivative sovereign immunity. Each issue is addressed below.
20
            First, setting aside GEO’s disagreement with Cabalce, GEO is liable for state law
21
     violations under Yearsley and Campbell-Ewald. In Yearsley, the Supreme Court recognized
22
     federal contractors are derivatively immune from liability unless the federal contractor
23
     “exceeded [its] authority” or that the authority “was not validly conferred.” Yearsley v. W.A.
24
     Constr. Co., 309 U.S. 18, 21 (1940). Similarly, in Campbell-Ewald, the Supreme Court held
25
     derivative sovereign immunity does not shield a contractor from suit when the contractor violates
26


      STATE OF WASHINGTON’S RESPONSE TO                    2              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 8 of 31




1    “the Government’s explicit instructions.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672

2    (2016). Here, GEO does just that. While GEO is required to operate a VWP and ICE agrees to

3    reimburse GEO $1 per day for detainee work performed, the GEO-ICE contract also explicitly

4    requires GEO perform in accordance with all applicable federal, state and local labor laws. See

5    ECF No. 246-3 at 43-44; ECF No. 246-2 at 18-19. The contract also instructs GEO to comply

6    with the “most stringent” of any conflicting federal, state, or local standards—an unambiguous

7    directive that speaks to the precise circumstance here but which GEO (and the United States)

8    entirely ignore in their briefing. ECF No. 246-3 at 52. See Campbell-Ewald, 136 S. Ct. at 673 n.7

9    (“Critical [to the contractor’s avoidance of liability] in Yearsley was . . . the contractor’s

10   performance in compliance with all federal directions.”) (emphasis added); In re KBR, Inc., Burn

11   Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014) (“[S]taying within the thematic umbrella of the work

12   that the government authorized is not enough to render the contractor’s activities ‘the act[s] of

13   the government’”) (citation omitted). By refusing to pay detainees the minimum wage, GEO

14   both exceeds the authority conferred to it and violates the federal government’s explicit

15   instructions. In other words, even under the cases GEO cites, derivative sovereign immunity

16   does not apply.

17          Second, there is no question that GEO is liable under Cabalce. ICE provides GEO broad

18   discretion to operate and manage the VWP. See ECF No. 253-14 (PBNDS 5.8) (nowhere

19   dictating the types of jobs detainee-workers must be assigned); ECF No. 91 (T. Johnson Decl.)

20   ¶¶ 8, 12, 13 (affirming that the GEO-ICE contract “do[es] not designate how a contractor is to

21   perform the work” and that GEO maintains discretion in developing and implementing the

22   VWP). ICE nowhere authorizes or directs that GEO pay detainee-workers only $1 per day for

23   their labor. Id. That decision is made by GEO alone. As the State observed in its response to

24   summary judgment, ECF No. 266 at 11, the record shows that GEO not only has the option to

25   pay more than $1 per day to detainee-workers for work performed, see ECF No. 253-15

26   (RFA 67), but GEO has in fact paid detainees more than $1 per day. ECF No. 253-15 (RFAs 56,


      STATE OF WASHINGTON’S RESPONSE TO                   3              ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                        800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                           Seattle, WA 98104-3188
      INTEREST                                                                       (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 9 of 31




1    58-60, 71-72). Under Cabalce, these admissions are dispositive. 797 F.3d at 732 (“[D]erivative

2    sovereign immunity, as discussed in Yearsley, is limited to cases in which a contractor ‘had no

3    discretion in the design process and completely followed government specifications.’”) (quoting

4    In re Hanford Nuclear Reservation Litig., 534 F.3d 986, 1001 (9th Cir. 2008)).

5           Although GEO disagrees with Cabalce’s holding that Yearsley is limited to cases in

6    which a contractor “had no discretion in the design process,” the Cabalce decision simply

7    interprets Yearsley’s own language that immunity applies only if the private contractor’s conduct

8    was “authorized and directed by the Government.” Cabalce, 797 F.3d at 732. Neither the

9    Supreme Court nor any other circuit has overturned or distinguished Cabalce’s articulation of

10   derivative sovereign immunity. See Campbell-Ewald, 136 S. Ct. at 672 (reviewing a Ninth

11   Circuit derivative sovereign immunity decision post-Cabalce and nowhere suggesting Cabalce

12   was wrongly decided). Indeed, the Fourth Circuit, like the Ninth Circuit, also considers the

13   private contractor’s “discretion” important when conducting a Yearsley analysis. In In re KBR,

14   Inc., Burn Pit Litigation, the Fourth Circuit held derivative sovereign immunity would not apply

15   “if [the private contractor] enjoyed some discretion in how to perform its contractually

16   authorized responsibilities.” 744 F.3d at 346. Instead, immunity would shield the private waste

17   management contractor only if “the military dictated exactly how [the contractor] should

18   undertake its waste management and water treatment tasks.” Id.

19          Third, GEO’s suggestion that the Cabalce court erred by relying on a government

20   contractor defense case, In re Hanford Nuclear Reservation Litigation, overlooks the shared

21   origin of both defenses. The Supreme Court established the government contractor defense in

22   Boyle v. United Technologies Corp., 487 U.S. 500 (1988), based principally on Yearsley’s

23   holding that a contractor’s immunity should be derivative. See Boyle, 487 U.S. at 524 (Brennan,

24   J., dissenting) (criticizing the majority’s reliance on Yearsley as a “slender reed on which to base

25   so drastic a departure from precedent”); see also Hilbert v. McDonnell Douglas Corp., 529

26   F. Supp. 2d 187, 197 n.8 (D. Mass. 2008) (“Boyle expands and elaborates Yearsley but does not


      STATE OF WASHINGTON’S RESPONSE TO                    4              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 10 of 31




1    set forth a separate doctrine. The Boyle court simply extended immunity from performance

2    contracts in Yearsley to procurement contracts (as in Boyle).”). Since derivative sovereign

3    immunity and the government contractor defense overlap, Cabalce’s citation to In re Hanford

4    Nuclear Reservation Litigation makes sense. The Hanford court also referred to “no discretion

5    in the design process” while analyzing Yearsley, the exact case GEO asks the Court to apply

6    here. 534 F.3d at 1001. The defenses are not “manifestly different,” as GEO argues.

7            Fourth, GEO’s citations to out-of-circuit case law do not save its argument.1 ECF No. 289

8    at 3. The D.C. Circuit case, in fact, supports the State’s claim for liability. In In re U.S. Office of

9    Personnel Management Data Security Breach Litigation, 928 F.3d 42 (D.C. Cir. 2019), the D.C.

10   Circuit refused to apply derivative sovereign immunity where, like here, the federal contractor’s

11   contractual obligations required it to adhere to specific legal standards. In rejecting the claim of

12   immunity where those standards were allegedly breached, the D.C. Circuit specifically noted the

13   federal contractor’s “inability to point to a contractual provision or other [government] direction

14   authorizing or directing [the conduct] over which [] [p]laintiffs [were] suing.” Id. at 70. The

15   same is true here, as the ICE-GEO contract requires GEO to comply with applicable state labor

16   laws, including the “most stringent” among competing standards. See ECF No. 246-3 at 43-44,

17   52; ECF No. 246-2 at 18-19. Although GEO half-heartedly cites to two other contract provisions,

18   one prohibiting GEO from using detainees to fulfill contractual obligations, ECF No. 246-3 at

19   82, and another requiring to GEO employ only U.S. citizens or legal permanent residents as

20   employees, id. at 63, neither provision authorizes or directs GEO to ignore state law generally

21   or Washington’s Minimum Wage Act (MWA) in particular.

22            1
                In Butters v. Vance International Inc., 225 F.3d 462, 466 (4th Cir. 2000), the Fourth Circuit extended
23   derivative sovereign immunity to private agents of a foreign government after determining a private contractor’s
     discriminatory decision not to promote a female security guard stemmed from Saudi Arabia’s orders, not the private
     contractor’s own decision. Here, it is undisputed that neither ICE nor the GEO-ICE contract ordered GEO to violate
24
     Washington’s MWA. In Ackerson v. Bean Dredging LLC, 589 F.3d 196, 207 (5th Cir. 2009), the plaintiffs
     “attack[ed] the entire [federally-mandated dredging] project” and “d[id] not . . . allege that the [contractors]
25   exceeded their authority or in any way deviated from Congress’s direction or expectations.” Here, the State does
     not challenge the existence of immigration detention, but only GEO’s violation of the MWA when it does business
26   in Washington.


      STATE OF WASHINGTON’S RESPONSE TO                            5                ATTORNEY GENERAL OF WASHINGTON
                                                                                             Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                   800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                      Seattle, WA 98104-3188
      INTEREST                                                                                  (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 11 of 31




1           GEO’s citations to pre-Cabalce, Ninth Circuit decisions fare no better. None suggests

2    Cabalce represents a departure from Ninth Circuit precedent. In Myers v. United States, 323 F.2d

3    580, 583 (9th Cir. 1963), derivative sovereign immunity applied only to the extent that the work

4    performed by the contractor was done “in conformity with the terms of said contract,” but

5    liability attached for acts “over and beyond acts required to be performed” or acts “not in

6    conformity” with the contract. In Agredano v. U.S. Customs Service, 223 F. App’x 558, 559

7    (9th Cir. 2007), derivative sovereign immunity applied where there was no evidence the

8    contractor breached the terms of its contract. In Gomez v. Campbell-Ewald, the Ninth Circuit

9    found Yearsley inapplicable and “decline[d] the invitation to craft a new immunity doctrine or

10   extend an existing one.” 768 F.3d 871, 880 (9th Cir. 2014). The Ninth Circuit specifically

11   cautioned that immunity “comes at a great cost” because, where immunity lies, “[a]n injured

12   party with an otherwise meritorious tort claim is denied compensation,” which “contravenes the

13   basic tenet that individuals be held accountable for their wrongful conduct.” Gomez, 768 F.3d at

14   882 (citing Westfall v. Erwin, 484 U.S. 292, 295 (1988)). While the Supreme Court later

15   disagreed with the characterization of Yearsley as a “narrow rule,” it still emphasized that

16   derivative sovereign immunity is “not absolute” and refused to apply it to a contractor that did

17   not—as required for immunity—“simply perform[] as the [g]overnment directed.” See

18   Campbell-Ewald, 136 S. Ct. at 672-73. Here, GEO did not simply perform as directed by the

19   government. To the contrary, GEO’s conduct failed to conform to the explicit terms of the GEO-

20   ICE contract.

21          Finally, the silence of the United States’ belated Statement of Interest on the topic of

22   derivative sovereign immunity is telling. Although the United States suggests in passing that

23   Washington’s MWA is “invalid,” see ECF No. 290 at 16, its brief focuses on intergovernmental

24   immunity. The United States is careful not to suggest that it directed, authorized, or instructed

25   GEO to violate Washington’s MWA. Cf. In re U.S. Office of Pers. Mgmt. Data Sec. Breach

26   Litig., 928 F.3d at 68 n.4 (observing the federal government had not endorsed defendant’s


      STATE OF WASHINGTON’S RESPONSE TO                   6             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                       800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                          Seattle, WA 98104-3188
      INTEREST                                                                      (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 12 of 31




1    assertion of derivative sovereign immunity). Since the intergovernmental immunity argument

2    fails for reasons discussed below, and the GEO-ICE contract explicitly requires GEO to comply

3    with state labor laws, the Court correctly denied GEO’s motion for summary judgment. As the

4    Court succinctly stated in its order, “GEO has not shown that it was directed to pay participants

5    in the VWP only a $1 for the relevant period.” ECF No. 288 at 9.

6
            2.      Preemption does not bar the State’s claims because there is no actual conflict
7                   between Washington’s MWA and IRCA

8           GEO next argues the Court erred by “ignor[ing]” the “impossibility” of GEO having an

9    employment relationship with detainees under state law while complying with the Immigration

10   Reform and Control Act (IRCA), and by failing to discuss Hoffman Plastic Compounds, Inc. v.

11   NLRB, 535 U.S. 137 (2002). Neither argument is persuasive.

12          First, GEO’s IRCA argument is—and has always been—fundamentally flawed. Neither

13   this lawsuit nor Washington’s MWA seeks to require GEO to employ detainees at all.

14   Washington’s MWA only requires that, where GEO chooses to employ workers, whether

15   detainees or non-detainees from the surrounding Tacoma area, that GEO pay them at least the

16   minimum wage. In suggesting that it need not comply with state labor laws when relying on

17   unauthorized workers, GEO’s argument actually encourages the employment of unauthorized

18   workers, undermines IRCA’s purpose, and stands in direct conflict with Ninth Circuit law. See

19   Incalza v. Fendi N. Am., Inc., 479 F.3d 1005, 1013 (9th Cir. 2007) (IRCA does not preempt a

20   California labor law forbidding employers from terminating an employee without good cause,

21   even an immigrant employee who temporarily lost legal work status).

22          As the Court correctly concluded, GEO’s payment of the minimum wage presents no

23   obstacle or conflict with IRCA. ECF No. 288 at 11; see also Incalza, 479 F.3d at 1013 (rejecting

24   conflict preemption argument because “it was possible for [defendant] to obey federal law . . .

25   without creating a conflict with state law” by suspending the employee as he adjusted his

26   immigration status instead of terminating him). GEO could undoubtedly comply with IRCA,


      STATE OF WASHINGTON’S RESPONSE TO                   7             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                       800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                          Seattle, WA 98104-3188
      INTEREST                                                                      (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 13 of 31




1    administer a Voluntary Work Program, and abide by Washington’s MWA by hiring work-

2    authorized detainees or Tacoma-area residents and paying them the minimum wage. As to the

3    detainees, they may be legal permanent residents, asylum seekers, grantees of Deferred Action

4    for Childhood Arrivals (DACA), or have other immigration statuses that similarly authorize

5    them to work or provide eligibility for work authorization. See 8 C.F.R. §§ 274a.12(c)(8), (9),

6    (10), (19). Not only did the State provide evidence of a NWDC detainee’s work authorization in

7    response to GEO’s summary judgment motion, see ECF No. 268-4, GEO admitted in reply that

8    some detainees at the NWDC, for example, are legal permanent residents (and therefore work

9    authorized). See ECF No. 273 at 3 (citing TRAC Immigration, Immigration and Customs

10   Enforcement Detainees (Dec. 2018), https://trac.syr.edu/phptools/immigration/detention/ and

11   identifying at least eleven detainees at the time to be legal permanent residents). In other words,

12   it is possible for GEO to comply with all of its obligations simultaneously, and the Court was

13   correct when it concluded that GEO “has failed to show that paying the detainees minimum wage

14   ‘stands as an obstacle to the accomplishment and execution of the full purposes and objectives

15   of Congress.’” ECF 288 at 11.

16          To the extent GEO suggests preemption also bars the State’s unjust enrichment claim,

17   see ECF No. 289 at 6 (referencing unjust enrichment), GEO’s suggestion is flatly wrong. The

18   State’s unjust enrichment claim does not depend on whether detainees are deemed GEO

19   employees under state law. Three elements are necessary for unjust enrichment: (1) the

20   defendant receives a benefit; (2) the received benefit is at the plaintiff’s expense; and (3) the

21   circumstances make it unjust for the defendant to retain the benefit. Young v. Young, 191 P.3d

22   1258, 1262 (Wash. 2008). None of these elements require the workers to be employees. In fact,

23   courts routinely recognize unjust enrichment claims outside of any employment context at all.

24   See, e.g., Columbia Cmty. Bank v. Newman Park, LLC, 304 P.3d 472, 476 (Wash. 2013)

25   (ordering equitable subrogation to a lender in a loan transaction to prevent unjust enrichment);

26   Wash. Dep’t of Revenue v. Puget Sound Power & Light Co., 694 P.2d 7, 15 (Wash. 1985) (Dore,


      STATE OF WASHINGTON’S RESPONSE TO                    8              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 14 of 31




1    J., concurring) (recognizing an unjust enrichment if utility company were allowed to keep

2    dividends received from abandoned utility deposits). Cf. Menocal v. GEO Grp., Inc., 882 F.3d

3    905, 926 (10th Cir. 2018) (upholding unjust enrichment class action brought by detainee workers

4    against GEO where Colorado Minimum Wage Act was found to be inapplicable).

5           Second, the Court’s omission of Hoffman Plastic in its summary judgment order is

6    understandable. GEO itself nowhere cited Hoffman Plastic in its reply. See ECF No. 273.

7    Further, as the State argued previously, Hoffman Plastic does not support the argument that the

8    MWA stands as an obstacle to any federal objective. See ECF No. 266 at 16. In Hoffman Plastic,

9    the Supreme Court declined to award back pay for “work not performed,” i.e., from the date of

10   the workers’ illegal termination for collectively bargaining under the National Labor Relations

11   Act to the date the employer discovered the workers were unauthorized to work. 535 U.S. at 149.

12   Every court that has considered the argument that Hoffman Plastic also bars minimum wage

13   claims for work actually performed has squarely rejected it. See Lucas v. Jerusalem Café, LLC,

14   721 F.3d 927, 935 (8th Cir. 2013) (recognizing unauthorized aliens’ minimum wage claim and

15   noting that Hoffman Plastic does not exclude unauthorized workers from all statutory

16   protections); Lamonica v. Safe Hurricane Shutters, Inc., 711 F.3d 1299, 1308 (11th Cir. 2013)

17   (“[E]ven after Hoffman, we maintain that ‘[b]y reducing the incentive to hire such workers the

18   [federal minimum wage act’s] coverage of undocumented aliens helps discourage illegal

19   immigration and is thus fully consistent with the objectives of the IRCA.”); see also David v.

20   Signal Int’l, LLC, 257 F.R.D. 114, 124 (E.D. La. 2009) (“Hoffman Plastic does not control

21   plaintiffs’ claims for unpaid minimum and overtime wages for work already performed”); id. at

22   123 n.32 (listing cases holding that claims for work already performed did not conflict with

23   federal immigration law). Clearly, Hoffman Plastic, a case regarding the appropriate remedy for

24   National Labor Relations Act violations, does not preclude a State from seeking a declaration on

25   liability that its generally applicable labor laws apply to work performed in the state.

26          Since Washington’s claims are not preempted, the Court did not commit manifest error.


      STATE OF WASHINGTON’S RESPONSE TO                    9              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 15 of 31




1           3.      Analysis under Washington’s MWA is not altered just because GEO’s
                    employees work in a detention setting
2
            GEO next argues the Court “manifestly err[ed]” in rejecting its contention that the MWA
3
     does not apply due to the “custodial nature of detention.” See ECF No. 289 at 6. GEO’s argument
4
     fails because it wholly duplicates arguments the Court has already considered and is inconsistent
5
     with GEO’s own argument that the economic dependence test (rather than some other detention-
6
     specific analysis) applies in this case. See ECF No. 245 at 18.
7
            GEO’s entire argument on reconsideration rests on a single case that it has repeatedly
8
     cited in several of its failed dispositive motions: Alvarado Guevara v. INS, 902 F.2d 394, 396
9
     (5th Cir. 1990), which considered a different law’s application to a federally-owned and operated
10
     detention facility. As this Court previously recognized, Alvarado is not binding precedent. ECF
11
     No. 29 at 18 (Order on GEO’s Mot. to Dismiss). Alvarado nowhere addressed a privately-owned
12
     and operated detention facility, the Washington’s MWA, or the MWA’s broader purpose of
13
     preventing predatory labor practices to encourage maximum employment opportunities for state
14
     residents. See Wash. Rev. Code § 49.46.005(1). Indeed, the Fair Labor Standards Act—the
15
     statute at issue in Alvarado—itself recognizes state minimum wage laws will differ from its own
16
     provisions. See 29 U.S.C. § 218(a) (directing that “[n]o provision of [the FLSA] or any order
17
     thereunder shall excuse noncompliance with any Federal or State law or municipal ordinance
18
     establishing a minimum wage higher than the minimum wage established under this chapter”);
19
     Pac. Merch. Shipping Assoc. v. Aubry, 918 F.2d 1409, 1425 (9th Cir. 1990) (affirming that “the
20
     purpose behind the FLSA is to establish a national floor under which wage protections cannot
21
     drop, not to establish absolute uniformity in minimum wage . . . standards nationwide”).
22
     “[E]xtending the logic of Alvarado to interpret [Washington’s MWA] . . . moves beyond
23
     interpretation to legislation” and this Court should again “respectfully decline the invitation to
24
     add to the statute.” ECF No. 29 at 18. Since GEO cites no case suggesting the Washington
25
     minimum wage analysis differs in the private detention context, the Court did not manifestly err.
26


      STATE OF WASHINGTON’S RESPONSE TO                   10             ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                        800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                           Seattle, WA 98104-3188
      INTEREST                                                                       (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 16 of 31




1           In sum, GEO’s motion nowhere demonstrates manifest error or otherwise presents new

2    law or facts that could not have been presented before. The Court should accordingly deny

3    GEO’s motion for reconsideration.

4
     B.     Intergovernmental Immunity Does Not Preclude Enforcement of Washington’s
5           Longstanding and Generally Applicable MWA

6           The Court should likewise decline to reconsider its prior decisions holding that GEO is

7    not entitled to intergovernmental immunity. See ECF Nos. 162, 165. The Court correctly applied

8    governing law, and the United States’ brief adds no weight to the faulty arguments GEO

9    previously raised. Intergovernmental immunity does not bar Washington from enforcing its

10   longstanding and neutral MWA against GEO, a private, for-profit employer in Washington.

11          1.      The United States’ belated “Statement of Interest” should not be considered
                    because it is untimely and a procedurally improper request for
12                  reconsideration
13          As a threshold matter, the Court should decline to consider the United States’ filing at

14   all. The federal government’s brief is untimely and procedurally improper given that there is no

15   pending motion on the issue of intergovernmental immunity. Even worse, the United States fails

16   to address the requisite standard for motions for reconsideration, despite its explicit argument

17   (ECF No. 190 at 2) that the Court should “reconsider” its prior rulings. See Local Rules W.D.

18   Wash. LCR 7(h). Under the circumstances, the Statement of Interest provides no reason to

19   reconsider the Court’s prior rulings.

20          Even accepting that the United States may appear in cases to represent its interests

21   pursuant to 28 U.S.C. § 517, that authorization nowhere grants the federal government

22   permission to ignore case schedules or Local Rules. Nor does it authorize the federal government

23   to place an unnecessary burden on the Court by filing what is effectively an untimely second

24   motion for reconsideration that reiterates GEO’s previously rejected arguments. Compare ECF

25   No. 290 (United States’ Statement of Interest), with ECF Nos. 149 (GEO Mot. for Summ. J. re:

26   Intergovernmental Immunity), 161-1 (GEO Reply), 164 (GEO Mot. for Reconsideration). Cases


      STATE OF WASHINGTON’S RESPONSE TO                  11            ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                      800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                         Seattle, WA 98104-3188
      INTEREST                                                                     (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 17 of 31




1    addressing other “Statements of Interest” make clear that the Court need not consider such filings

2    when they are belated or repetitive. See, e.g., LSP Transmission Holdings, LLC v. Lange, 329 F.

3    Supp. 3d 695, 703-04 (D. Minn. 2018) (declining to consider U.S. Statement of Interest filed

4    two and a half months after briefing was completed because Department of Justice’s delay was

5    “unjustified” and the parties had already “fully and thoroughly” briefed the issue); United States

6    ex rel. Gudur v. Deloitte Consulting, LLP, 512 F. Supp. 2d 920, 928 (S.D. Tex. 2007) (striking

7    Statement of Interest filed after the summary judgment briefing deadline had passed where

8    United States made “no attempt” to show “good cause for its untimely filing”).

9             Further, the Court is not obligated to reconsider interlocutory rulings anytime a party

10   files an untimely brief, to say nothing of a belated non-party filing that does not relate to a

11   pending motion.2 While the Court has authority to reconsider interlocutory rulings, it has

12   simultaneously recognized that “[r]econsideration is an ‘extraordinary remedy, to be used

13   sparingly in the interests of finality and conservation of judicial resources.’” Casteel, 2014 WL

14   6751219, at *1 (citing Kona, 229 F.3d at 890). Local Rule 7(h) regarding motions for

15   reconsideration exists to address the appropriate circumstances for such an extraordinary

16   remedy. And that rule is clear: Motions for reconsideration are “disfavored” and subject to a

17   strict standard, requiring a showing of manifest error or presentation of law or facts that could

18   not have been presented earlier. See Local Rules W.D. Wash. LCR 7(h)(1). Requests for

19   reconsiderations are not intended to provide a “second [or, as here, third] bite at the apple” and

20   “should not be used to ask a court to rethink what the court had already thought through[.]”

21   Casteel, 2014 WL 6751219, at *1.

22            The United States’ filing disregards the Court’s case schedule, the fact that the United

23   States never sought to intervene and is not a necessary party, and well-established rules regarding

24
              2
                To this point, the Court has previously rejected GEO’s attempts to re-argue issues in subsequent briefing
25   on the ground that doing so constituted, in effect, an untimely motion for reconsideration. See ECF No. 202 at 10
     (Order granting Washington’s Mot. for Partial Summ. J.) (rejecting GEO’s arguments, which merely recycled
26   assertions from previously denied motion to dismiss, as an untimely request for reconsideration).


      STATE OF WASHINGTON’S RESPONSE TO                             12               ATTORNEY GENERAL OF WASHINGTON
                                                                                              Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                    800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                       Seattle, WA 98104-3188
      INTEREST                                                                                   (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 18 of 31




1    motions for reconsideration. The United States knew of this lawsuit at the outset when GEO

2    sought unsuccessfully to require Washington to join the United States as a “necessary party” and

3    when it filed a declaration with regard to the ICE-GEO contract. See, e.g., ECF No. 58 (Order

4    denying GEO’s Mot. to Dismiss for Failure to Join, filed April 26, 2018); ECF No. 52, Ex. A

5    (letter to Department of Justice, dated March 7, 2018, regarding litigation at issue); ECF No. 91

6    (T. Johnson Decl., filed August 2018). For reasons only it can know, the United States declined

7    to participate in GEO’s 2018 briefing on intergovernmental immunity. Now, having belatedly

8    decided to become involved, the federal government does not attempt to show good cause for

9    the untimeliness of its filing. Further, despite its explicit request for the Court to “reconsider” its

10   prior denial of GEO’s summary judgment motion on intergovernmental immunity, the United

11   States nowhere asserts that the Court committed manifest error or presents law or facts that could

12   not have been presented earlier. See Local Rules W.D. Wash. LCR 7(h)(1). To the contrary, the

13   United States presents the same arguments the Court previously, and correctly, rejected. Under

14   these circumstances, the Court need not and should not reconsider its prior intergovernmental

15   immunity ruling.

16            2.       The federal government exaggerates and ignores the record when it claims
                       that GEO’s paying more than $1 per day will “interfere with federal
17                     immigration enforcement”
18            In addition to the improper nature of the federal government’s filing, its brief mistakenly

19   contends that Washington’s enforcement of the MWA is an effort to “interfere with federal

20   immigration enforcement.” ECF No. 290 at 2. Despite that alarmist contention, however, the

21   federal government’s brief nowhere explains how requiring GEO to pay more than $1 per day

22   to detainee workers—as GEO admits it has the option to do and has done in the past—will

23   interfere with federal immigration enforcement efforts.3 Tellingly on this point, the federal

24
              3
               Instead, the United States makes vague references to its interests in countering what it believes to be
25   “discriminatory state efforts to regulate federal contractors,” “the proper application of the Supremacy Clause,” and
     “the foundational principles that protect the Federal Government from unlawful state interference.” ECF No. 290
26   at 1.


      STATE OF WASHINGTON’S RESPONSE TO                             13                ATTORNEY GENERAL OF WASHINGTON
                                                                                               Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                     800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                        Seattle, WA 98104-3188
      INTEREST                                                                                    (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 19 of 31




1    government nowhere asserts that GEO is in any way prohibited from paying more than $1 per

2    day under any applicable authority or the ICE-GEO Contract. That silence is striking, but not

3    surprising.

4           The governing federal detention standards, the 2011 PBNDS (which the United States

5    cites), make clear that contractors can pay detainees more than $1 per day. See ECF No. 290 at

6    2-3 (citing PBNDS 5.8, which requires contractors to pay “at least $1” per day to detainees

7    participating in the contractor’s VWP, but nowhere citing provisions that limit payment to $1

8    per day) (emphasis added); id. at 3 (citing T. Johnson Decl. (ECF No. 91) ¶ 13, which

9    acknowledges that GEO must pay detainees “no less than” $1 per day per the PBNDS). The

10   federal government likewise carefully avoids asserting that the ICE-GEO Contract limits GEO

11   to paying only $1 per day, arguing only that ICE requires GEO to have a VWP and that the

12   federal government is required to reimburse GEO for only $1 per day of detainee work. See ECF

13   No. 290 at 2-3. This silence on the core question is telling, and consistent with ICE’s own

14   position that GEO can pay detainee-workers more than $1 per day in operating the VWP. See

15   ECF No. 253-17. It is also consistent with GEO’s admission that it “has the option” of paying

16   detainees more than $1 per day and has done so in the past. ECF No. 253-15 at (RFA 67

17   (admitting that GEO has the option to pay more than $1 per day to detainee workers for work

18   performed in the VWP); id. (RFAs 58-59) (more than $1 per day when detainees worked more

19   than one “detail” per day); id. (RFAs 56, 60) (payment of more than $1 per day, including

20   payments of $5 per day).

21          The record in this case renders the United States’ “interference” accusation meritless. It

22   is not credible to suggest that GEO’s compliance with the federal government’s own standards

23   and representations allowing payment of more than $1 per day interferes with or burdens federal

24   immigration enforcement efforts. Washington’s enforcement of a neutral law against a private

25   company does not interfere with federal immigration enforcement efforts.

26


      STATE OF WASHINGTON’S RESPONSE TO                  14             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                       800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                          Seattle, WA 98104-3188
      INTEREST                                                                      (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 20 of 31




1           3.      Washington law does not discriminate against the federal government or its
                    contractors
2
            While the Court need not consider it, the federal government’s expansive interpretation
3
     of intergovernmental immunity also fails on the merits. Washington’s MWA does not target or
4
     discriminate against the federal government or its contractors. GEO, like all other private
5
     contractors and employers, must pay the minimum wage. Washington’s brief argued that point
6
     last year, see ECF No. 155, and the Court recognized that the MWA neither discriminates against
7
     GEO based on its status as a federal contractor nor “meddles with” the federal government’s
8
     activities by singling out a federal contractor. ECF No. 162 at 6-9 (ruling that the Minimum
9
     Wage Act is imposed equally on other similarly situated Washington constituents and that there
10
     is no showing that the MWA is “imposed against Defendant on any basis related to its status as
11
     a Federal Government contractor”).
12
            Nothing in the United States’ filing demonstrates error in the Court’s conclusion, much
13
     less “manifest error.” See Local Rules W.D. Wash. LCR 7(h)(1). To the contrary, the federal
14
     government relies on arguments the Court already addressed. Like GEO, the United States urges
15
     an expansive interpretation that seeks special treatment for GEO to allow it to avoid rules that
16
     apply to all similarly situated private companies. The Court should once again decline the
17
     invitation to re-write the law of intergovernmental immunity.
18

19                  a.      The nondiscrimination rule does not bar enforcement of neutral laws
                            imposed on a basis unrelated to one’s status as a federal contractor
20
            As a starting point, the Supreme Court has “decisively rejected the argument[,]” which
21
     the federal government implicitly presses here, “that any state regulation which indirectly
22
     regulates the Federal Government’s activity is unconstitutional.” North Dakota v. United States,
23
     495 U.S. 423, 434-35 (1990) (internal citation omitted). Courts take “a functional approach to
24
     claims of governmental immunity, accommodating of the full range of each sovereign’s
25
     legislative authority.” United States v. City of Arcata, 629 F.3d 986, 991 (9th Cir. 2010) (quoting
26


      STATE OF WASHINGTON’S RESPONSE TO                   15              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 21 of 31




1    North Dakota, 495 U.S. at 435). The Supreme Court has used restraint in applying

2    intergovernmental immunity, recognizing that whatever burdens are imposed on the federal

3    government by a neutral state law “are but normal incidents of the organization within the same

4    territory of two governments.” North Dakota, 495 U.S. at 435 (citing Helvering v. Gerhardt, 304

5    U.S. 405, 422 (1938)).

6             Consistent with these underlying principles, “[a] state regulation is invalid only if it

7    regulates the United States directly or discriminates against the Federal Government or those

8    with whom it deals.” North Dakota, 495 U.S. at 435 (citing South Carolina v. Baker, 485 U.S.

9    505, 523 (1988)) (emphasis added); United States v. County of Fresno, 429 U.S. 452, 464 (1977).

10   A “[s]tate does not discriminate against the Federal Government and those with whom it deals

11   unless it treats someone else better than it treats them.” Washington v. United States, 460 U.S.

12   536, 544-45 (1983). To this end, the Supreme Court has clarified that a state law does not

13   implicate intergovernmental immunity where it “is imposed on some basis unrelated to the

14   object’s status as a [federal] Government contractor” and is “imposed equally on other similarly

15   situated constituents of the State.”4 North Dakota, 495 U.S. at 438 (emphasis added); see also

16   In re Nat’l Sec. Agency Telecomms. Records Litig., 633 F. Supp. 2d 892, 903 (N.D. Cal. 2007)

17   (citing County of Fresno, 429 U.S. at 462-64) (“Applying these principles, the [Supreme] Court

18   has required that regulations be imposed equally on all similarly situated constituents of a state

19   and not based on a constituent’s status as a government contractor or supplier.”).

20            Courts have thus stated succinctly: “The nondiscrimination rule prevents states from

21   meddling with federal government activities indirectly by singling out for regulation those who

22   deal with the government. The rule does not, however, oblige special treatment.” In re Nat’l Sec.

23   Agency Telecomms. Records Litig., 633 F. Supp. 2d at 903. Nor does it prohibit enforcement of

24            4
                 This rule “finds its reason in the principle that the States may not directly obstruct the activities of the
     Federal Government.” City of Arcata, 629 F.3d at 991 (quoting North Dakota, 495 U.S. at 437-38); see also United
25   States v. California, 921 F.3d 865, 881 (9th Cir. 2019) (“[T]he United States’ position that no obstruction is required
     in intergovernmental immunity cases ignores the origins of the doctrine and the occasions in which it has been
26   applied.”).


      STATE OF WASHINGTON’S RESPONSE TO                               16                ATTORNEY GENERAL OF WASHINGTON
                                                                                                 Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                       800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                          Seattle, WA 98104-3188
      INTEREST                                                                                      (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 22 of 31




1    neutral state laws against contractors “with whom” the federal government deals. See North

2    Dakota, 495 U.S. at 436-39 (rejecting intergovernmental immunity challenge to state liquor

3    control regulations that applied to out-of-state suppliers providing liquor to the federal

4    government in North Dakota because regulations did not discriminate against the federal

5    government or those with whom it deals); In re Nat’l Sec. Agency Telecomms. Records Litig.,

6    633 F. Supp. 2d at 904 (rejecting intergovernmental immunity claim where laws at issue

7    “regulate equally all public utilities, making no distinction based on the government’s

8    involvement” and rejecting attempt to focus on the individual investigation as “treat[ing] the

9    government differently” because “the regulatory regime as a whole treats any unauthorized

10   disclosure the same”).

11          As the Court recognized in its 2018 ruling, GEO is subject to a neutral state law

12   requirement to pay its employees a minimum wage. ECF No. 162 at 6 (“At its core, and by

13   design, the MWA protects employees and prospective employees generally, placing private

14   firms that contract with the Federal Government on equal footing with all other private

15   entities.”). That conclusion is correct. GEO must comply with that requirement like all other

16   private entities, regardless of their line of business, absent an applicable exception. Because

17   Washington’s MWA, either facially or as applied, does not single out GEO or federal contractors

18   for worse treatment, it is unlike the scenarios in which claims of intergovernmental immunity

19   have been upheld, where the challenged laws regulated the federal government directly, or

20   clearly “meddled with” its activities by singling its contractors out for special, and unfair,

21   treatment. See, e.g., M’Culloch v. Maryland, 17 U.S. 316, 436 (1819) (state effort to tax Bank

22   of the United States); Davis v. Mich. Dep’t of Treasury, 489 U.S. 803, 814 (1989) (state tax on

23   federal retirements benefits discriminates against federal government); California, 921 F.3d at

24   882 (state regulation was targeted “exclusively to federal conduct,” because it applied only to

25   “facilities in which noncitizens were being housed or detained for purposes of civil immigration

26   proceedings”); Boeing Co. v. Movassaghi, 768 F.3d 832, 842 (9th Cir. 2014) (state regulation


      STATE OF WASHINGTON’S RESPONSE TO                  17            ATTORNEY GENERAL OF WASHINGTON
                                                                                Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                      800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                         Seattle, WA 98104-3188
      INTEREST                                                                     (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 23 of 31




1    that imposed heightened environmental cleanup standards at a single location subjected to

2    cleanup by federal contractor); City of Arcata, 629 F.3d at 991-92 (municipal ordinances that

3    prohibited federal government employees or agents from recruiting minors for military service

4    discriminates against the federal government).

5
                       b.       The United States invites a false comparison in order to argue an
6                               overly broad view of intergovernmental immunity
7
              To avoid this straightforward conclusion, the United States invites the Court to engage
8
     in a false comparison of dissimilar entities: state government and its publicly run institutions,
9
     like prisons and treatment centers, with private companies that own and operate detention
10
     facilities for profit. That is a false comparison and one the Court properly rejected. Supreme
11
     Court precedent dictates that the relevant question is whether Washington law discriminates
12
     against GEO based on its status as a federal contractor and thereby meddles with or obstructs the
13
     federal government’s activities. See North Dakota, 495 U.S. at 436-39. That necessarily requires
14
     consideration of how the MWA treats private companies, like GEO—and whether there is
15
     discrimination based on their status as a federal contractor.5 There is not.
16
              Here, GEO is treated like all other private companies subject to the MWA and is not
17
     entitled to the government-facility exemption at subsection (3)(k) of Washington Revised Code
18
     § 49.46.010 (subsection (3)(k)). See ECF No. 162 at 2 (“The NWDC is better characterized as a
19
     private facility that detains federal detainees under a contract with the Federal Government.”)
20
     (emphasis added); see also infra § B(3)(c). Whether the NWDC detains individuals for the
21
     federal government or others, or is used for any other purpose, GEO must comply with the MWA
22
     like any other private employer and contractor absent an applicable exception. There is no
23
     discrimination because GEO is not treated worse than other private businesses because of its
24
              5
               To the extent the United States suggests that the Court should compare state institutions with institutions
25   the federal government owns and operates, it proves Washington’s point. Those types of facilities are treated
     equally. All parties agree that the Minimum Wage Act does not apply to the federal government’s facilities and
26   none are the subject of any enforcement action.


      STATE OF WASHINGTON’S RESPONSE TO                             18                ATTORNEY GENERAL OF WASHINGTON
                                                                                               Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                     800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                        Seattle, WA 98104-3188
      INTEREST                                                                                    (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 24 of 31




1    status as a contractor for the federal government—it is being treated the same. As the Court

2    previously recognized, this case is unlike those in which federal employees or contractors were

3    singled out and subject to heightened regulatory requirements. ECF No. 162 at 6-7

4    (distinguishing Boeing and Davis, which the United States relies upon).

5            Ultimately, the United States’ suggestion that GEO is being “discriminated against”

6    relies on an extreme and unsupported view of intergovernmental immunity. What the United

7    States proposes is an interpretation that conflates discrimination with the lack of special

8    treatment of its contractors. In other words, the United States seeks to exempt federal contractors

9    from neutral state laws even where similar private entities are not exempt. That is not what

10   intergovernmental immunity requires. See In re Nat’l Sec. Agency Telecomms. Records Litig.,

11   633 F. Supp. 2d at 903 (“The rule does not, however, oblige special treatment.”); see also North

12   Dakota, 495 U.S. at 436-39.

13                  c.      The government institution exemption does not extend to private,
                            corporate operators and does not discriminate against GEO or other
14                          private federal contractors
15           The federal government, like GEO last year, also tries to escape the simple conclusion

16   that Washington in no way discriminates against it or GEO by focusing on subsection (3)(k)—

17   the MWA’s exemption for individuals in state and local government institutions. Its argument

18   distills to the assertion that the exemption does not treat private contractors that contract with

19   the federal government in Washington equally with private contractors that contract with state

20   or local governments. That interpretation of subsection (3)(k) is wrong and the Court properly

21   rejected it.

22           The language of the exemption clearly applies only to governmentally owned and

23   operated institutions—not privately owned and operated institutions. In particular, it applies to

24   detainees held in state, county, or municipal correctional, detention, treatment or rehabilitative

25   institutions. Wash. Rev. Code § 49.46.010(3)(k). On its face, the exemption does not apply to

26   privately owned and operated institutions, and the United States cites no Washington authority


      STATE OF WASHINGTON’S RESPONSE TO                   19              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
            Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 25 of 31




1    supporting such a construction. Indeed, the United States makes no serious attempt to explain

2    how its proposed construction of state law comports with the exemption’s plain language listing

3    only government entities. Nor does it address how its view of the statute is consistent with

4    Washington courts’ mandate that exemptions to the MWA must be construed “narrowly” and in

5    favor of the employee. See Drinkwitz v. Alliant Techsystems, Inc., 996 P.2d 582, 587 (Wash.

6    2000) (en banc) (“Exemptions from remedial legislation, such as the MWA . . . are narrowly

7    construed and applied only to situations which are plainly and unmistakably consistent with the

8    terms and spirit of the legislation.”). The plain statutory language and requirement of narrowly

9    construed exemptions compel the conclusion that subsection (3)(k) applies only where the

10   institution at issue is one run by the state, a county, or a municipality—not an institution owned

11   and operated by a private, for-profit contractor merely doing business with a government entity.

12            The United States nonetheless asserts, erroneously, that “Washington state law expressly

13   allows private contractors to operate ‘state, county or municipal correctional, detention,

14   treatment or rehabilitative institution[s].” ECF No. 290 at 11 n.7. That point mistakes

15   Washington law and is incorrect. The cited authorities at most support a point not in dispute—

16   that Washington law allows units of government to contract with other units of government or

17   private companies under specific statutorily authorized circumstances.6 None of the authorities,

18   however, supports the broader conclusion that those private contractors’ institutions are deemed

19   state, county, or municipal institutions for MWA purposes and would therefore be exempt from

20   the minimum wage laws if they permitted detainees to work in the state.7

21            6
                 Contrary to the United States’ generalized assertions, the Department of Corrections only has authority
22   to contract with other units of government or “private companies in other states” to hold convicted felons in “an
     institution or jail operated by such entity” despite being sentenced to serve their term of incarceration in a “state
23   correctional facility.” See Wash. Rev. Code § 72.68.040 (emphasis added). The relevant statutory provision nowhere
     authorizes the Department of Corrections to hold state inmates in private facilities in Washington. Id.; see also
     Wash. Rev. Code § 72.68.012 (“It is the legislature’s intent to clarify the law to reflect that the secretary of
24
     corrections has authority to contract with private corporations to house felons out-of-state…”) (emphasis added).
               7
                 See Wash. Rev. Code § 72.09.015(6) (defining “correctional facility” for purposes of the chapter
25   establishing the Department of Corrections, but not “state,” “county,” or “municipal” “correctional … institutions”
     as set forth under the MWA); Wash. Rev. Code § 70.48.210(4) (acknowledging that special detention facility can
26   be operated by noncorrectional personnel under contract but nowhere referencing the MWA); Wash. Rev. Code §


      STATE OF WASHINGTON’S RESPONSE TO                             20                ATTORNEY GENERAL OF WASHINGTON
                                                                                               Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                     800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                        Seattle, WA 98104-3188
      INTEREST                                                                                    (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 26 of 31




1            To the contrary, these and related statutory provisions show that the Washington

2    legislature is quite capable of saying “by contract” when it refers to facilities operated by

3    contract, and referring to “private organizations” when referring to facilities operated under

4    contract with private companies. The legislature has not deemed those institutions “state,”

5    “county,” or “municipal” institutions, but has instead distinguished between government-run

6    institutions and those operated under contract. See Wash. Rev. Code. §§ 72.68.040 (authorizing

7    Corrections Secretary to contract with the federal government, other state governments, “private

8    companies in other states,” or cities and counties for the detention of convicted felons in “an

9    institution or jail operated by such entity” where the individual has been sentenced to a term in

10   a “state correctional institution,” making clear that institutions run by “private companies in

11   other states” are not “state correctional institutions”) (emphasis added); 72.09.015(6) (referring

12   to facility operated “by contract”); 72.65.020(1)(c) (authorizing confinement of prisoners

13   participating in work release program, when not at work, in either a “state correctional

14   institution,” “county or city jail,” or “any other appropriate, supervised facility, after an

15   agreement has been entered into … for the housing of work release prisoners”) (emphasis added).

16   It made no such reference or distinction in subsection (3)(k). Instead, that section is limited

17   explicitly to state, county, and municipal institutions, which are different from institutions owned

18   and operated by private companies—just as NWDC is not a “federal” facility merely because it

19   contracts with ICE to detain individuals. A private contractor operating a facility in Washington

20   would be subject to the requirements of the MWA.

21           To be sure, the exemption does not specify that “federal” facilities would also be exempt

22   if operated by the federal government itself. NWDC is not a “federal” facility, however, and all

23   parties agree that the MWA does not apply to the federal government directly. More importantly,

24   that the exemption does not explicitly mention “federal” institutions makes sense in light of the

25   71.05.020(21) (defining “evaluation and treatment facility” but nowhere referencing the MWA); Wash. Rev. Code
     § 71.05.320(1)(a) (noting that as an alternative to detention, individuals may be remanded to custody of certified
26   facility instead of Department of Social and Health Services, but nowhere referring to the MWA).


      STATE OF WASHINGTON’S RESPONSE TO                            21               ATTORNEY GENERAL OF WASHINGTON
                                                                                             Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                                   800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                                      Seattle, WA 98104-3188
      INTEREST                                                                                  (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 27 of 31




1    Supremacy Clause and longstanding prohibition on states directly regulating the federal

2    government. See M’Culloch, 17 U.S. at 436. Moreover, the United States’ brief identifies no

3    instance where Washington has enforced its minimum wage law inside a federal detention

4    facility within the state. On the contrary, Washington has acknowledged that such an

5    enforcement action could not be maintained. This reality—the way Washington’s MWA has

6    been applied to government operated facilities since the exemption was included in 1974—

7    shows that the MWA in no way “discriminate[s] against the federal government.” California,

8    921 F.3d at 880. Instead, the distinction is a public/private one: all operators of private companies

9    and institutions in the state, including GEO, must comply with the MWA absent an applicable

10   exception.

11          The United States’ heavy reliance on Davis v. Michigan Department of Treasury, a case

12   cited in the parties’ prior briefing and addressed by the Court in its 2018 ruling, does not save its

13   argument. See ECF No. 162 at 6-7 (holding that this case is not one in which the MWA meddles

14   with federal government activities and distinguishing Davis). There, a state exempted some of

15   its constituents—individuals who received state retirement benefits—from state income

16   taxation, but did not exempt similarly situated individuals who received federal retirement

17   benefits. See Davis, 489 U.S. at 805-06. It was “undisputed that Michigan’s tax system

18   discriminates in favor of retired state employees and against retired federal employees.” Id. at

19   814. Significantly, though, the comparison at issue was one where the treatment of state

20   constituents differed depending on whether they collected benefits from the federal or state

21   government—i.e., whether they dealt with the federal or state government. The underlying

22   “similarly situated” entity was another private constituent.

23          Unlike Davis, no discrimination exists here because subsection (3)(k) does not present a

24   facial “state versus federal” distinction between state constituents. The MWA instead utilizes a

25   distinction between government and private actors, with all private companies treated the same

26   regardless of whom they deal with. Thus, Davis actually supports the Court’s and Washington’s


      STATE OF WASHINGTON’S RESPONSE TO                    22              ATTORNEY GENERAL OF WASHINGTON
                                                                                    Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                          800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                             Seattle, WA 98104-3188
      INTEREST                                                                         (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 28 of 31




1    analysis, with the comparison being whether GEO (a private company) is treated differently from

2    other similarly situated constituents depending on whether it contracts with the federal

3    government. It is not. Davis thus provides no support to the federal government’s expansive

4    reading of intergovernmental immunity here.

5           Finally, the United States has not established any discriminatory treatment to support an

6    as applied challenge to the constitutionality subsection (3)(k) based upon this enforcement

7    action. All enforcement actions involve particular violations of the law, and the fact that the

8    “present investigation” happens to be of a federal contractor does not convert the MWA into a

9    statute that “treat[s] the government differently.” In re Nat’l Sec. Agency Telecomms. Records

10   Litig., 633 F. Supp. 2d at 904 (quoting North Dakota, 495 U.S. at 435)). Further, even if there

11   did exist a comparable state-contracted (privately owned and operated) institution that failed to

12   pay the minimum wage in the state of Washington (which neither GEO nor the United States

13   identified), it would not defeat Washington’s claim. It would instead identify another entity that

14   may merit an enforcement inquiry under Washington law.

15
                    d.      The United States’ remaining            arguments      do    not    support
16                          intergovernmental immunity

17          Finally, the United States attempts to rely on the Department of Labor & Industries’

18   administrative policy regarding the MWA. ECF No. 290 (citing Department of Labor Industries

19   Employment Standards Administrative Policy: MWA Applicability (2014) (“Administrative

20   Policy”) 5, ECF 160-1)). This is the same argument GEO raised last year, and indeed, the United

21   States cites the docket entry from GEO’s prior summary judgment briefing. See ECF Nos. 149,

22   161-1. The Court properly rejected that argument, see ECF Nos. 162, 165, and the United States

23   does not suggest that the Court committed manifest error in doing so. The Court should decline

24   to reconsider the same argument for a third time.

25           Even if considered, the Labor & Industries administrative policy merely reiterates that

26   the statutory exemption in subsection (3)(k) exists for individuals in government-run facilities.


      STATE OF WASHINGTON’S RESPONSE TO                   23             ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                        800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                           Seattle, WA 98104-3188
      INTEREST                                                                       (206) 464-7744
           Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 29 of 31




1    As the United States notes, the policy is explicit that “[r]esidents, inmates, or patients of state,

2    county or municipal [i.e., not private] correctional, detention, treatment or rehabilitative

3    institution[s] [are] not . . . required to be paid minimum wage if they perform work directly for,

4    and at, the institution’s premises where they are incarcerated, and remain under the direct

5    supervision and control of the institution.” See ECF No. 160-1 at 5 (emphasis added). That

6    guidance confirms Washington’s view of the proper interpretation of the exemption. The federal

7    government makes much of the sentence referring to state inmates in state facilities who might

8    be assigned to work with a private corporation (while nonetheless “on prison premises” and thus

9    under the direct supervision of state officers) through certain Correctional Industries programs.

10   But that again implicates nothing more than the plain language of subsection (3)(k), making clear

11   that inmates in a state correctional facility are exempt from the MWA.

12          Ultimately, nothing in the administrative policy addresses the circumstance where a

13   private contractor owns and operates a detention facility, like the NWDC, much less states that

14   such a facility would be deemed a “state” institution for purposes of the MWA exemption. If

15   anything, the policies show that Washington is uniform in its application of the plain terms of

16   the statute: the MWA exemption applies only to individuals held in government-run facilities.

17                                       III.     CONCLUSION
18          For the foregoing reasons, Washington respectfully urges the Court to (1) deny GEO’s

19   motion for reconsideration and (2) decline to reconsider its prior rulings rejecting GEO’s claims

20   of intergovernmental immunity. Neither GEO nor the United States have demonstrated any error,

21   much less manifest error, in the Court’s prior rulings.

22
            Dated this 6th day of September 2019.
23

24   //
25   //
26


      STATE OF WASHINGTON’S RESPONSE TO                    24             ATTORNEY GENERAL OF WASHINGTON
                                                                                   Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                         800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                            Seattle, WA 98104-3188
      INTEREST                                                                        (206) 464-7744
        Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 30 of 31




1                                        Respectfully submitted,
2                                        ROBERT FERGUSON
                                         Attorney General of Washington
3
                                         s/ Lane Polozola
4                                        MARSHA CHIEN, WSBA No. 47020
                                         ANDREA BRENNEKE, WSBA No. 22027
5                                        LANE POLOZOLA, WSBA No. 50138
                                         PATRICIO A. MARQUEZ, WSBA No. 47693
6                                        Assistant Attorneys General
                                         Office of the Attorney General
7                                        800 Fifth Avenue, Suite 2000
                                         Seattle, WA 98104
8                                        (206) 464-7744
                                         marsha.chien@atg.wa.gov
9                                        andrea.brenneke@atg.wa.gov
                                         lane.polozola@atg.wa.gov
10                                       patricio.marquez@atg.wa.gov
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     STATE OF WASHINGTON’S RESPONSE TO         25            ATTORNEY GENERAL OF WASHINGTON
                                                                      Civil Rights Division
     GEO’S MOTION FOR RECONSIDERATION                             800 Fifth Avenue, Suite 2000
     AND UNITED STATES’ STATEMENT OF                                Seattle, WA 98104-3188
     INTEREST                                                            (206) 464-7744
          Case 3:17-cv-05806-RJB Document 297 Filed 09/06/19 Page 31 of 31




1                                  CERTIFICATE OF SERVICE

2           I hereby certify that the foregoing document was electronically filed with the United

3    States District Court using the CM/ECF system. I certify that all participants in the case are

4    registered CM/ECF users and that service will be accomplished by the appellate CM/ECF

5    system.

6    Dated this 6th day of September 2019 in Seattle, Washington.

7                                                s/ Caitilin Hall
                                                 Caitilin Hall
8                                                Legal Assistant
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


      STATE OF WASHINGTON’S RESPONSE TO                               ATTORNEY GENERAL OF WASHINGTON
                                                                               Civil Rights Division
      GEO’S MOTION FOR RECONSIDERATION                                     800 Fifth Avenue, Suite 2000
      AND UNITED STATES’ STATEMENT OF                                        Seattle, WA 98104-3188
      INTEREST                                                                    (206) 464-7744
